Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 1 of 100 PageID #:2635




                   EXHIBIT 5
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 2 of 100 PageID #:2636
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 3 of 100 PageID #:2637
                                                                                TA B L E O F C O N T E N T S



       W O O D L AW N
               TITLE REPORT
                 • Jackson Park Site 24– Chicago Title Insurance Company

               A LT A P L A T O F S U R V E Y
                 • East of Stony Island Avenue

               E N V I R O N M E N TA L R E P O R T
                 • Phase I – Environmental Design International

               T R A F F I C A N D PA R K I N G S T U DY
                  • Woodlawn Site Traffic and Parking Study – Sam Schwartz Engineering
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 4 of 100 PageID #:2638
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 5 of 100 PageID #:2639
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 6 of 100 PageID #:2640
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 7 of 100 PageID #:2641
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 8 of 100 PageID #:2642
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 9 of 100 PageID #:2643
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 10 of 100 PageID #:2644
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 11 of 100 PageID #:2645
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 12 of 100 PageID #:2646
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 13 of 100 PageID #:2647
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 14 of 100 PageID #:2648
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 15 of 100 PageID #:2649
          Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 16 of 100 PageID #:2650




                  CHICAGO TITLE INSURANCE COMPANY



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1031EX 05/09 ML
                  KJ3
           Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 17 of 100 PageID #:2651
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           Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 18 of 100 PageID #:2652
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Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 19 of 100 PageID #:2653
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 20 of 100 PageID #:2654
 PHASE I ENVIRONMENTAL SITE ASSESSMENT
                REPORT




                 PHASE I ENVIRONMENTAL SITE ASSESSMENT REPORT


                                         Woodlawn Site
                                    6000 S. Stony Island Ave.
                                          Chicago, IL




    PREPA
        ARED BY:                                            PREPARE
                                                                  ED FOR:
    Environmental Design International inc.                 The University of Chicago
    33 West Monroe Street, Suite 1825                       5235 S. Harper Court, Suite 1000
    Chicago, Illinois 60603                                 Chicago, IL 60615
    (312) 345-1400
    (312) 345-0529 (fax)
    www.envdesigni.com

   EDI Project #: 1877.001.02
   Date of Report: November 12, 2014




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Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 21 of 100 PageID #:2655




November 12, 2014

Ms. Alicia Murasaki
Assistant Vice President, Campus Design and Sustainability
The University of Chicago
5235 S. Harper Court, Suite 1000
Chicago, IL 60615

RE:    Phase I Environmental Site Assessment
       Woodlawn Site
       6000 S. Stony Island
       Chicago, Illinois
       EDI Project No. 1877.001.02

Dear Ms. Murasaki:

Environmental Design International inc. (EDI) is pleased to provide the results of our Phase I
Environmental Site Assessment (ESA) of the Woodlawn Site at 6000 S. Stony Island in Chicago,
Illinois. This assessment was performed in general accordance with ASTM E 1527-13, Standard
Practice for Environmental Site Assessments: Phase I ESA Process.

This assessment included a site reconnaissance, as well as historical research and interviews with
representatives of the property. An assessment was made, conclusions stated, and Recognized
Environmental Conditions (RECs) identified.

If you have any questions concerning this report, or if we can assist you in any other matter,
please contact Patricia Feeley, P.G., Project Manager at 312-345-1400 extension 136 or via email
at pfeeley@envdesigni.com.

Best Regards,

Environmental Design International inc.




Patricia Feeley, P.G.
Environmental Professional
Senior Project Manager




             ENVIRONMENTAL DESIGN                   INTERNATIONAL             INC   .
                                  33 WEST MONROE, SUITE 1825
                        TELEPHONE: 312-345-1400 FACSIMILE: 312-345-0529
                                     WWW.ENVDESIGNI.COM
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 22 of 100 PageID #:2656




                                                             TABLE OF CONTENTS
TABLE OF CONTENTS ............................................................................................................................................. i 
EXECUTIVE SUMMARY ......................................................................................................................................... 3 
1.0   INTRODUCTION ......................................................................................................................................... 5 
            1.1    Purpose.............................................................................................................................................. 5 
            1.2    Scope of Services .............................................................................................................................. 5 
            1.3    Additional Services ........................................................................................................................... 5 
            1.4    Significant Assumptions ................................................................................................................... 5 
            1.5    Limitations and Exceptions ............................................................................................................... 6 
            1.6    Data Gaps .......................................................................................................................................... 7 
            1.7    Special Terms and Conditions .......................................................................................................... 7 
            1.8    Reliance ............................................................................................................................................ 8 
2.0         SITE DESCRIPTION ................................................................................................................................... 9 
            2.1   Location and Legal Description ........................................................................................................ 9 
            2.2   Site and Vicinity General Characteristics ......................................................................................... 9 
            2.3   Current Use of the Property .............................................................................................................. 9 
            2.4   Description of Improvements ............................................................................................................ 9 
            2.5   Current Use of Adjoining Properties................................................................................................. 9 
3.0         USER PROVIDED INFORMATION ....................................................................................................... 11 
            3.1  User Responsibilities....................................................................................................................... 11 
            3.2  Additional Owner, Property Manager, and Occupant Information ................................................. 11 
4.0         RECORDS REVIEW .................................................................................................................................. 12 
            4.1    Standard Environmental Record Sources ........................................................................................ 12 
            4.2    Additional Environmental Record Sources ..................................................................................... 13 
            4.3    Physical Setting ............................................................................................................................... 14 
            4.4    Historical Use.................................................................................................................................. 14 
            4.5    Historical Use Information on Adjoining Properties ...................................................................... 15 
            4.6    Data Failure..................................................................................................................................... 15 
5.0         SITE RECONNAISSANCE ....................................................................................................................... 16 
            5.1   Methodology ................................................................................................................................... 16 
            5.2   Observations ................................................................................................................................... 16 
            5.3   Potential Environmental Conditions ............................................................................................... 16 
            5.4   Observation of Adjoining Properties............................................................................................... 18 
6.0         INTERVIEWS ............................................................................................................................................. 19 
            6.1   Key Site Manager ........................................................................................................................... 19 
            6.2   Current and Past Occupants ............................................................................................................ 19 
            6.3   Local Government Officials ............................................................................................................ 19 
            6.4   Others .............................................................................................................................................. 19 
7.0         FINDINGS ................................................................................................................................................... 20 
            7.1          On-Site Recognized Environmental Conditions ............................................................................. 20 
            7.2          Off-Site Recognized Environmental Conditions............................................................................. 20 
            7.3          Historical Recognized Environmental Conditions .......................................................................... 20 
            7.4          De Minimis Environmental Conditions .......................................................................................... 20 



PHASE I ENVIRONMENTAL SITE ASSESSMENT                                                      i                                 EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 23 of 100 PageID #:2657




8.0     REFERENCES ............................................................................................................................................ 21 
9.0     SIGNATURES OF ENVIRONMENTAL PROFESSIONALS ............................................................... 22 
10.0    QUALIFICATIONS OF ENVIRONMENTAL PROFESSIONALS ...................................................... 23 
        10.1        Definition of an Environmental Professional.................................................................................. 23 
        10.2        Relevant Experience ........................................................................................................................ 23 


Figure 1: Current Ownership Map
Figure 2: Adjacent Property Uses and Ownership Map

APPENDICES
Appendix A          Site Photographs and Questionnaires
Appendix B          Freedom of Information Act (FOIA) Response and Vapor Encroachment Screening (VES)
Appendix C          Historical Records: Sanborn Map Report, Aerial Photographs, Historical Topographic
                    Maps, and City Directory Abstract
Appendix D          EDR Radius Map Report




PHASE I ENVIRONMENTAL SITE ASSESSMENT                                               ii                                EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 24 of 100 PageID #:2658




EXECUTIVE SUMMARY

Scope of Work

Environmental Design International inc. (EDI) has performed a Phase I Environmental Site
Assessment (ESA) at the Woodlawn Site located at 6000 S. Stony Island, Chicago, Illinois (the
Property) in general accordance with the agreed scope of work. Unless otherwise agreed, the
work is governed by provisions of ASTM E 1527-13, Standard Practice for Environmental Site
Assessments: Phase I Environmental Site Assessment Process in order to identify Recognized
Environmental Conditions (RECs) associated with the property. This Executive Summary is
intended to provide a brief overview of the assessment and findings. A more complete
understanding of this assessment can only be achieved by review of the entire report. This
Woodlawn Site is being considered for future development of a building, parking, and open
space.

Summary

The Property is part of Jackson Park and includes grass covered open space, a football field and
track, a restroom building, and a playground area. The property is bordered to the north, east,
and south by 60th Street, Cornell Avenue, and 63rd Street; followed by Jackson Park. The
property is bordered to the west by Stony Island, followed by residential properties and Hyde
Park High School. The Property is owned by the Chicago Park District.

No previous environmental assessments were provided for review. The Property has been part of
Jackson Park since prior to 1901. Jackson Park and Jackson Park service yard are listed for
underground storage tanks (USTs) and leaking USTs (LUSTs), these USTs and LUST release
are believed to be located south of 63rd Street, not on the Woodlawn Site. The site
reconnaissance identified the Property as park with open space, football field and track, a
restroom building, and a playground area. Some general debris (picnic food wrappers and plastic
bottles) was observed on site.

Findings

EDI has performed a Phase I ESA in conformance with the scope and limitations of ASTM Practice
E1527 of the Woodlawn Site. Any exceptions to, or deletions from, this practice are described in
Section 1.5 of this report. This assessment has revealed no evidence of RECs in connection with the
property. No Controlled RECs have been identified. The restroom building should be surveyed for
asbestos prior to demolition or renovation.

The following off-site RECs were identified for the Property:
        The Jackson Park Service yard is the south adjacent property, and had two leaking
          USTs.




PHASE I ENVIRONMENTAL SITE ASSESSMENT               3                    EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 25 of 100 PageID #:2659




Findings which would otherwise be characterized as REC, but which generally do not present a
threat to human health or the environment and that generally would not be the subject of an
enforcement action if brought to the attention of appropriate governmental agencies are classified as
de minimis in accordance with the agreed scope of work. No de minimis conditions were identified
for the Woodlawn Site.




PHASE I ENVIRONMENTAL SITE ASSESSMENT                4                    EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 26 of 100 PageID #:2660




1.0    INTRODUCTION

EDI was retained by the University of Chicago (the Client) to conduct a Phase I Environmental
Site Assessment (ESA) at the Woodlawn Site located at 6000 S. Stony Island, Chicago, Illinois
(the Property). The Woodlawn Site is part of Jackson Park, owned and managed by the Chicago
Park District.

1.1    Purpose

The purpose of this Phase I ESA was to identify existing or potential RECs (as defined by
ASTM Standard E-1527-13) in connection with the property. A REC is defined by ASTM
Standard Practice E-1527-13 as the presence or likely presence of any hazardous substances or
petroleum products in, on, or at a property: (1) due to any release to the environment; (2) under
conditions indicative of a release to the environment; (3) under conditions that pose a material
threat of a future release to the environment. De minimis conditions are not RECs. This
assessment does not intend to include de minimis conditions that generally do not present a
material risk of harm to public health or the environment and that generally would not be the
subject of an enforcement action if brought to the attention of appropriate governmental
agencies. This ESA was also performed to permit the Client to satisfy one of the requirements to
qualify for the innocent landowner, contiguous property owner, or bona fide prospective
purchaser limitations on scope of Comprehensive Environmental Response, Compensation and
Liability Act (CERCLA) (42 U.S.C. §9601) liability (hereinafter, the “landowner liability
protections,” or “LLPs”). ASTM Standard E-1527-13 constitutes “all appropriate inquiry into
the previous ownership and uses of the property consistent with good commercial or customary
practice” as defined at 42 U.S.C. §9601(35)(B).

1.2    Scope of Services

The scope of work for this ESA is in general accordance with the requirements of ASTM
Standard E 1527-13 subject to limitations and deviations described in Section 1.5. EDI warrants
that the findings and conclusions contained herein were accomplished in accordance with the
methodologies set forth in the Scope of Work except as noted in this report.

1.3    Additional Services

There were no additional or Non-ASTM scope items for the Phase I ESA.

1.4    Significant Assumptions

This assessment is based, in part, upon interviews and information obtained from others. In
accordance with the scope of services, in the absence of knowledge or direct evidence to the
contrary, EDI has assumed this information to be true and correct. However, EDI cannot and
does not warrant or guarantee that the information provided by others is accurate or complete.



PHASE I ENVIRONMENTAL SITE ASSESSMENT              5                   EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 27 of 100 PageID #:2661




1.5   Limitations and Exceptions
Responses from freedom of information act (FOIA) requests have not all been received.

This report is the intellectual property of EDI, protected by copyright law and other laws, and has
been prepared solely for the use and benefit of the Client. Unless authorized in writing by EDI,
reliance on or use (collectively, “Use”) of this report by additional parties is strictly prohibited
and shall be at the sole risk of the user, without rights of recourse or recovery from or against
EDI. Any such unauthorized user shall be responsible to protect, indemnify and hold EDI, Client
and their respective officers, employees, vendors, successors and assigns harmless from any and
all claims, damages, losses, liabilities, expenses (including reasonable attorneys’ fees) and costs
attributable to such Use. Unauthorized use of this report shall constitute acceptance of and
commitment to these responsibilities, which shall be irrevocable and shall apply regardless of the
cause of action or legal theory pled or asserted. Additional legal penalties may apply.

No environmental site assessment can wholly eliminate uncertainty regarding the potential for
recognized environmental conditions in connection with a property. The agreed scope of services
is not intended to be exhaustive or all inclusive and does not represent a guarantee of the
identification of all possible environmental risks. Rather, it is intended to develop a
representative understanding of the property in order to reduce, but not eliminate, uncertainty
regarding the potential for recognized environmental conditions in connection with a property,
and recognizes reasonable limits of time and cost.

Conclusions and opinions expressed throughout this report are based upon information identified
during the assessment. In accordance with the scope of services, EDI has observed representative
areas of the property. No assessment or investigation was performed behind walls, inside
plenums or in any other generally inaccessible areas. Conditions may exist on the property that
could not be identified within the scope of the assessment or which were not reasonably
identifiable from the available information. No sampling of soil or groundwater has been
conducted. This report is intended to be used in its entirety and is subject to limitations inherent
in the scope of services and expressed herein for purposes identified herein. Use for any other
purpose is at the sole risk of the user and is without recourse to EDI. The assessment is not
intended to identify de minimis conditions that generally do not present a threat to human health
or the environment and that generally would not be the subject of an enforcement action if
brought to the attention of appropriate governmental agencies.

In order to qualify for defenses to CERCLA liability, property buyers are required to take action
outside the scope of this assessment. When provided by the Client, related information has been
incorporated into this assessment. However, EDI cannot warrant our Client’s compliance with
these requirements. Likewise, the conclusions of this assessment will not allow others to qualify
for defenses to CERCLA liabilities.

Some of the information provided in this report is based upon personal interviews, and research
of available documents, records, and maps held by the appropriate government and private
agencies. Review of this information is subject to the limitations of historical documentation,


PHASE I ENVIRONMENTAL SITE ASSESSMENT                6                   EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 28 of 100 PageID #:2662




availability, and accuracy of pertinent records and the personal recollections of those persons
contacted.

User Provided Information included in this assessment is limited to information provided by
contracting parties. No information has been obtained from third-party addressees or relying
parties, if any, and evaluation of information from such parties is beyond the scope of this
assessment. Such parties should be aware that EPA requires defendants to take actions beyond
the scope of this assessment in order to qualify for defenses to liability.

This report includes some information concerning regulatory compliance, but is not intended as a
compliance audit and may not be considered as of verification regulatory compliance. In some
cases information not required by the ASTM E 1527-05, Standard Practice for Environmental
Site Assessments: Phase I Environmental Site Assessment Process has been included in the
report as typically requested by our clients. There is no intent that such information may
broaden the scope of services or responsibility beyond those identified in the agreement under
which the work was performed.

1.6    Data Gaps

The objective of the assessment is to gather the information required to satisfy the purpose of the
assessment, rather than completion of specific tasks. Data gaps occur when the information
required by the practice cannot be obtained despite good faith efforts. The practice requires
consultants to comment on the impact of significant data gaps and on their ability to identify
recognized environmental conditions. In order to assure an appropriate understanding of data
gaps, all data gaps are identified below along with rationale for evaluation of their significance.

      EDI was not able to document the historical use of the Property at intervals of five years
       or less for all time periods. However, based on the available information, EDI was able
       to infer use of the Property during intervening years. Based on the available information,
       this data failure is not considered a significant data gap;
      Information requested through the Freedom of Information Act (FOIA) has not all been
       received.


1.7    Special Terms and Conditions

The conclusions and findings set forth in this report are strictly limited in time and scope to the
date of the evaluations. The conclusions presented in the report are based solely on the services
described therein, and not on scientific tasks or procedures beyond the scope of agreed-upon
services or the time and budgeting restraints imposed by the Client. No subsurface exploratory
drilling or sampling was done under the scope of this work. Unless specifically stated otherwise
in the report, no chemical analyses have been performed during the course of this ESA.




PHASE I ENVIRONMENTAL SITE ASSESSMENT               7                    EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 29 of 100 PageID #:2663




EDI warrants that the findings and conclusions contained herein were accomplished in
accordance with the methodologies set forth in the Scope of Work. There are no other
warranties, expressed or implied.

1.8    Reliance
This assessment, all work performed and reliance thereon are governed by the agreement under
which this assessment was performed, between EDI and The University of Chicago.

The University of Chicago engaged EDI to perform this assessment in accordance with an
agreement governing the nature, scope and purpose of the work as well as other matters critical
to the engagement. Either verbally or in writing, third parties may come into possession of this
report or all or part of the information generated as a result of this work. In the absence of a
written agreement with EDI granting such rights, no third parties shall have rights of recourse or
recovery whatsoever under any course of action against EDI, its officers, employees, vendors,
successors or assigns.




PHASE I ENVIRONMENTAL SITE ASSESSMENT               8                   EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 30 of 100 PageID #:2664




2.0    SITE DESCRIPTION


2.1    Location and Legal Description

The Woodlawn Site is located at 6000 S. Stony Island, Chicago, Cook County, Illinois. The
property is bordered to the north, east, and south by 60th Street, Cornell Avenue, and 63rd Street;
followed by Jackson Park. The property is bordered to the west by Stony Island, followed by
residential properties and Hyde Park High School. The Property is owned by the Chicago Park
District. The Property is shown on Figure 1: Current Ownership Map.

2.2    Site and Vicinity General Characteristics

The Property is part of Jackson Park and is bordered to the west by Hyde Park High School and
residential properties. The Property and adjacent properties are shown on Figure 2: Adjacent
property uses and ownership. The greater vicinity includes The University of Chicago campus to
the northwest, the Museum of Science and Industry to the north east, the neighborhood of Hyde
Park, and Lake Michigan to the east.

2.3    Current Use of the Property

The Property is part of Jackson Park and includes grass covered open space, a football field and
track, a restroom building, and a playground area. Photographs taken of the Property and the
adjacent properties are provided in Appendix A.

2.4    Description of Improvements

Utility boxes were observed at the northeast corner of the park. A football field and track were
observed at the center of the park, and a concrete pad was located north of the track. A
playground and restroom building were located south of the track. A ball field was observed
south of the playground. Open grass areas were observed north and south of the track and
playground.

2.5    Current Use of Adjoining Properties

During the site reconnaissance, EDI observed the following land use on properties in the
immediate vicinity of the Property.

        North: The Property is bound to the north by 60th Street, followed by Jackson Park.

        South: The Property is bound to the south by 63rd Street/ Hayes Avenue, followed by
               Jackson Park and Jackson Park Service Yard.




PHASE I ENVIRONMENTAL SITE ASSESSMENT               9                    EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 31 of 100 PageID #:2665




       East:   The Property is bound to the east by Cornell Avenue, followed by Jackson
               Park Lagoons and then Lake Michigan.

       West:   The Property is bound to the west by Stony Island Avenue, followed by Hyde
               Park High School, residential properties, a parking lot and a greenhouse.




PHASE I ENVIRONMENTAL SITE ASSESSMENT         10                 EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 32 of 100 PageID #:2666




3.0    USER PROVIDED INFORMATION

3.1    User Responsibilities

Section 101(35)(B) of CERCLA, as amended by the Small Business Liability Relief and
Brownfields Revitalization Act requires defendants attempting to qualify for innocent
landowner, bona fide prospective purchaser or contiguous landowner defenses to CERCLA
liability to conduct specific inquiries not within the scope of the environmental professional’s
responsibilities as identified in ASTM E1527-13. Section 6 of ASTM E1527-13 requires the
“user” of the report to provide the results of these inquiries to the environmental professional.
This information includes:

      The existence of environmental cleanup liens,

      Activity and Use Limitations applicable to the property,

      Specialized knowledge or experience of the “user”,

      Commonly known or reasonably ascertainable information about the property,

      Relationship of the purchase price to fair market value if the property were not
       contaminated, and

      The degree of obviousness of the presence of likely presence of contamination at the
       property.

Fulfillment of these user responsibilities is key to qualification for the identified defenses to
CERCLA liability. EDI requested our Client to provide information to satisfy User
Responsibilities as identified in Section 6 of the ASTM guidance. An environmental
questionnaire and disclosure statement were completed by Dan Cooper of the Chicago Park
District, provided in Appendix A. The completed questionnaire did not identify any buildings or
asbestos containing materials on the property, any previous environmental investigations for the
property, and history of the property as a public park since the 1870s. No RECs were identified
from the questionnaire. A follow up question was submitted to Dan Cooper regarding the
Jackson Park Nike C41 database listing. Mr. Cooper provided a map showing the unleaded fuel
LUST site and NIKE site more than a 1,000 feet east of the Woodlawn Park Site.

3.2    Additional Owner, Property Manager, and Occupant Information

No additional information was available.




PHASE I ENVIRONMENTAL SITE ASSESSMENT              11                  EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 33 of 100 PageID #:2667




4.0    RECORDS REVIEW

4.1    Standard Environmental Record Sources

Information from standard Federal and state and tribal environmental record sources was
provided through Environmental Data Resources (EDR). Data from governmental agency lists
are updated and integrated into one database, which is updated as these data are released. This
integrated database also contains postal service data in order to enhance address matching.
Records from one government source are compared to records from another to clarify any
address ambiguities. The demographic and geographic information available provides assistance
in identifying and managing risk. The accuracy of the geocoded locations is approximately +/-
300 feet.

In some cases, location information supplied by the regulatory agencies is insufficient to allow
the database companies to geocode facility locations. These facilities are separately identified in
the report. EDI reviewed these facilities and, where applicable, has included related discussion in
the appropriate Section below.

Regulatory information from the following database sources, within the ASTM minimum search
distance from the Property, was reviewed. Specific facilities are discussed below if determined
likely that a potential recognized environmental condition has resulted at the Property from the
listed facilities. Please refer to Appendix D for a complete listing.

Target Property

The Target Property was not listed on any of the databases searched by EDR.

Off-site Properties

Evidence of the release of hazardous substances at properties within the search distance was
identified as a result of review of environmental records sources; the impact to the subject Property
is unknown.

The database report identified no National Priority List (NPL), no Comprehensive Environmental
Response, Compensation, and Liability Information System (CERCLIS) Sites within a ½ mile; five
Resource Conservation and Recovery Act Generator (RCRA) facilities within an ¼ mile; two
Leaking Underground Storage Tank (LUST) sites within a ¼ mile; and one Site Remediation
Program (SRP) facility within an ¼ mile.

The Radius Map report identified Jackson Park (service yard – EDR-A3 & A4)) at 1625 E. 63rd
Street or Hayes Avenue on the LUST and UST databases. Two LUST incidents (IEPA
#20020872 and 20021756) were reported for the U.S. Army Corps of Engineers (USACE) for a
release of fuel oil in 2002 and a release of other petroleum in 2002. A No Further Remediation
(NFR) Letter was issued dated 11/17/2003 for incident 20020872, no NFR letter has been issued


PHASE I ENVIRONMENTAL SITE ASSESSMENT                12                   EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 34 of 100 PageID #:2668




for the other LUST incident (20021756). Two 1500 gallon gasoline USTs are listed for this
Jackson Park site, one is listed as removed, the other is listed as exempt from registration
(OSFM# 2020366). The Jackson Park Field House (& NikeC41) (D14, D15, & D16) located at
6401 S. Stony Island is listed for one heating oil UST, exempt from registration and listed as a
RCRA Small Quantity Generator (SQG) with no violations found (these listings are more than
1,000 feet east of the Woodlawn Park Site). Freedom of Information Act (FOIA) requests have
been submitted to OSFM and IEPA for additional information. The west adjacent property,
Hyde Park Career Academy at 6220 S. Stony Island Ave (EDR-2), is listed on the RCRA
database as a conditionally exempt SQG with no violations found.

A FOIA request was submitted to the Illinois Environmental Protection Agency (IEPA) to identify
available information for the south adjacent LUST facility. No response has been received as of the
date of this report.

4.2     Additional Environmental Record Sources

4.2.1   Local Agencies

FOIA requests were submitted by EDI to the City of Chicago Department of Public Health
(CDPH), the Illinois Environmental Protection Agency (IEPA) and the Office of the State Fire
Marshall (OSFM) for records related to the Woodlawn Site at 6000 S. Stony Island. FOIA
Response is provided in Appendix B from the OSFM. The OSFM records identified a 1,500
gallon gasoline UST removed in 1988, no record of release was noted (OSFM #2020366). A
database check for the City of Chicago Department of Public Health found no records for 6000
S. Stony Island. No response from IEPA has been received.

FOIA requests were submitted to the CDPH, the IEPA, and the United States Environmental
Protection Agency (USEPA) for the Nike-C41 Jackson Park site at 6401 S. Stony Island.
USEPA had no records. OSFM records for facility #2303866 identified an 8,000 gallon heating
oil UST no longer in service for 3501 N. Kilbourn, which is not near the Property. A review of
the CDPH database found a UST removal record from 1990 for 6401 S. Stony Island. A record
was also found for a heating oil UST for 6300 S. South Shore Drive for Nike C-41/Jackson Park.
It is unknown if this UST was removed.


4.2.2   Vapor Encroachment Screening

The goal of a vapor encroachment screening (VES) is to identify a vapor encroachment condition
(VEC), which is the presence or likely presence of chemicals of concern (COC) vapors in the
subsurface of the property. EDI performed a Tier 1 VES, in accordance with ASTM Standard
E2600 (Standard Guide for Vapor Encroachment Screening on Property Involved in Real Estate
Transactions E2600-10). Petroleum COC search distances are approximately 1/10th-mile from
the property and other COC search distances are approximately 1/3-mile from the property. EDI
generated a VES (attached in Appendix B) from the EDR Radius Map data (dated 10/9/2014),


PHASE I ENVIRONMENTAL SITE ASSESSMENT               13                   EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 35 of 100 PageID #:2669




which identified the following: a LUST site down gradient; two LUST sites and one SRP site up-
gradient and more than 1/10th mile from the Property. These listings would not be considered
VECs, based on distance and gradient. Several historical cleaners are shown on the historical
cleaners database, however, no known contamination has been reported at these historical
cleaners. Based on no known contamination, the historical cleaners listings are not considered
VECs.

A VEC is not likely to be present as no contamination is known to be migrating to the Property
from the off-site database listings identified.


4.3     Physical Setting

4.3.1   Topography

The EDR Historical Topographic Map Report, Jackson Park Quadrangle 7.5-minute series dated
1998 was reviewed. The site elevation was described as 587 feet above mean sea level. The
Property appears relatively flat with higher areas around the track. Lagoons are shown to the
east of the Property. Topographic maps can be found in Appendix C.

4.3.2   Soils/Geology

Based on the EDR VES, the soil types include fine sand, loamy sand, and silty clay loam. The
subsurface is likely to be sandy, based on proximity to Lake Michigan.

4.3.3   Hydrology

The property has no standing water or wetland characteristic vegetation. Lagoons and wetlands
are located in Jackson Park to the east of the Property. Lake Michigan is located east of the
Property.

4.3.4   Flood Zone and Wetland

According to the Federal Emergency Management Agency (FEMA), the Flood Insurance Rate
Map (FIRM map number 17031C) and EDR Radius Map, the east adjacent property is in a flood
zone and includes wetlands. The Property does not appear to include a flood zone or wetland.

4.4     Historical Use

The historical records search included research request for Sanborn Maps, aerial photographs,
and historical topographic maps. No Sanborn map records were available for this site. Aerial
photographs were available for the years 1938, 1952, 1962, 1972, 1978, 1983, 1988, 1993, 1998,
2005, 2007, 2009, 2010, 2011, 2012. The aerial photographs show the Property as park land
since 1938, with the fields recently upgraded in 2011. The EDR Historical Topographic Map


PHASE I ENVIRONMENTAL SITE ASSESSMENT            14                  EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 36 of 100 PageID #:2670




report included topographic maps from the Jackson Park quadrangles from 1901, 1929, 1953, 1963,
1972, 1993, and 1998. The historical topographic maps show the Property as part of Jackson Park
since 1901. The EDR City Directory abstract identifies the address 6000 S. Stony Island as
Plaisance Pharmacy from 1923 through 1961. Plaisance cleaners is noted in 1976 for the address
6004 S. Stony Island; U of C Campus Industrial Relations is noted in 1976 for the address 6006
S. Stony Island; and Plaisance Food & Liquor Mart is noted in 1976 for the address 6010 S.
Stony Island. The Sanborn Map Report, aerial photographs, historical topographic maps, and
City Directory Abstract are provided in Appendix C.

4.5    Historical Use Information on Adjoining Properties

Based on review of the sources referenced above historical uses of the adjoining properties to the
north, east, and south appear to be Jackson Park. The west adjacent properties appear developed
from 1939.


4.6    Data Failure

The objective of historical research is to develop a history of the previous uses of the Property
and surrounding area in order to help identify the likelihood of release of hazardous substances
as a result of past activities. The agreed scope of work requires the assessor to attempt to identify
use of the subject property from the first date of development, but recognizes that data failure
frequently occurs, making this impossible. When data failure occurs, ASTM E 1527-13 requires
the assessor to document the data failure and assess the potential impact on the ability of the
Environmental Professional (EP) to identify recognized environmental conditions.

The following data failures have been identified:
                                         EDI was not able to document the historical use of the
                                         Property at intervals of five years or less for all time
                                         periods. However, based on the available information,
                                         EDI was able to infer use of the Property during
 Property use was not identified at 5- intervening years. Based on the available information,
            year intervals.              this data failure is not considered a significant data gap.
                                           The FOIA response have not all been received. EDI
                                           recommends the FOIA response be reviewed.




PHASE I ENVIRONMENTAL SITE ASSESSMENT                15                   EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 37 of 100 PageID #:2671




5.0       SITE RECONNAISSANCE

5.1       Methodology

Except as identified in Section 1.4, Limitations and Exceptions, the site reconnaissance was
conducted in conformance with ASTM E-1527-13. The Property was inspected by Alex Smith-
Dedrick, Environmental Scientist and Patricia Feeley, Professional Geologist, on October 13, 2014.
The weather at the time of the site reconnaissance was overcast and rainy, with a temperature of
approximately 60 degrees Fahrenheit. Photographs of the site reconnaissance are included in
Appendix A.

5.2       Observations

5.2.1     Solid Waste Disposal

Park visitors generate household type solid waste. At the time of the reconnaissance, the property
was sparsely littered with general debris.

5.2.2 Potable Water

Water fountains are located on site and serviced by the Chicago Park District, City of Chicago
Water service from Lake Michigan water.

5.2.3 Wells and Cisterns

No wells or cisterns were identified.

5.2.4     Wastewater

No water treatment facilities were observed during the on-site reconnaissance.

5.3       Potential Environmental Conditions

5.3.1     Hazardous Substances and Petroleum Products

EDI did not observe any hazardous substances and petroleum products during the site
reconnaissance.

5.3.1.1    Unlabeled Containers and Drums

EDI did not observe any unlabeled drums on the Property during the site reconnaissance.




PHASE I ENVIRONMENTAL SITE ASSESSMENT              16                   EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 38 of 100 PageID #:2672




5.3.1.2    Secondary Containment

No secondary containment was observed during the site reconnaissance.

5.3.1.3    Disposal Locations of Regulated/ Hazardous Waste

EDI did not identify disposal location of regulated/hazardous waste during the site reconnaissance.

5.3.2     Evidence of Releases

No obvious indications of hazardous substance or petroleum product releases, such as stained
areas or stressed vegetation, were observed during the site reconnaissance.

5.3.3     Polychlorinated Biphenyls (PCBs)

Older transformers and other electrical equipment can contain PCBs at levels that subject them to
regulation by the U.S. EPA. PCBs in electrical equipment are controlled by United States
Environmental Protection Agency regulations from Title 40 of the Code of Federal Regulations
(40 CFR), Part 761. Under the regulations, there are three categories into which electrical
equipment can be classified:

         Less than 50 parts per million (ppm) of PCBs – “Non-PCB” transformer

         50 ppm-500 ppm – “PCB-Contaminated” electrical equipment

         Greater than 500 ppm – “PCB” transformer

PCBs can also be present in hydraulic equipment such as elevators, auto lifts and dock levelers.
No transformers, pole-mounted or on-ground, were observed during the site reconnaissance.
Utility boxes were observed at the northeast corner of the Property.

5.3.4     Landfills

No evidence of landfills was observed.

5.3.5 Surface Water

No surface water was observed on the Property.




PHASE I ENVIRONMENTAL SITE ASSESSMENT               17                   EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 39 of 100 PageID #:2673




5.3.6   On-Site Above Ground Storage Tanks and Underground Storage Tanks

No evidence of current above ground or underground storage tanks was observed during the site
reconnaissance.

5.4     Observation of Adjoining Properties

No RECs were identified on adjoining properties based on site observations.




PHASE I ENVIRONMENTAL SITE ASSESSMENT               18                  EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 40 of 100 PageID #:2674




6.0    INTERVIEWS

6.1    Key Site Manager

There was no site management for the Property.

6.2    Current and Past Occupants

The Property has historically been used as Jackson Park.

6.3    Local Government Officials

City of Chicago, IEPA, and OSFM FOIA requests were submitted. Responses to these requests
are discussed in Section 4.2 of this report.

6.4    Others

No other interviews were performed as part of this assessment.




PHASE I ENVIRONMENTAL SITE ASSESSMENT               19           EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 41 of 100 PageID #:2675




7.0    FINDINGS

This assessment is intended to identify the presence or likely presence of hazardous substances
or petroleum products at the property under conditions that indicate an existing or past release, or
a material threat of a release. EDI’s findings are categorized as Recognized Environmental
Conditions, Historical Recognized Environmental Conditions and De Minimis Conditions as
defined in the scope of work.

7.1    On-Site Recognized Environmental Conditions

With the exception of de minimis conditions, discussed below, findings which indicate the
presence or likely presence of hazardous substances or petroleum products at the Property under
conditions that indicate an existing or past release or a material threat of a release are
characterized as RECs.

EDI has performed a Phase I ESA in conformance with the scope and limitations of ASTM Practice
E1527 of the Woodlawn Site at 6000 S. Stony Island in Chicago, Illinois. Any exceptions to, or
deletions from, this practice are described in Section 1.5 of this report. This assessment has
revealed no evidence of RECs in connection with the property. No Controlled RECs have been
identified. The restroom building should be surveyed for asbestos prior to demolition or renovation.

7.2    Off-Site Recognized Environmental Conditions

The following off-site RECs were identified for the subject property:
        The Jackson Park Service yard is the south adjacent property, and had two leaking
          USTs.

7.3    Historical Recognized Environmental Conditions

Historical Recognized Environmental Conditions are RECs which have been corrected or are
otherwise determined not to represent a current threat.

No on-site historical RECs have been identified.

7.4    De Minimis Environmental Conditions

Findings which would otherwise be characterized as REC, but which generally do not present a
threat to human health or the environment and that generally would not be the subject of an
enforcement action if brought to the attention of appropriate governmental agencies are classified as
de minimis in accordance with the agreed scope of work.

No de minimis conditions were identified for the Property.



PHASE I ENVIRONMENTAL SITE ASSESSMENT                20                   EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 42 of 100 PageID #:2676




8.0    REFERENCES

EDI requested the property owner, key site contact and Client, within reasonable constraints of
time and cost, to provide the following documents. All documents provided are discussed in
appropriate Sections of the report.

Transaction Screen                               Environmental Liens Activity and Use
Phase I Environmental Site Assessment            Limitations
Phase II Investigation                           Engineering Controls and Status Reports
Closure Reports                                  Environmental permits
Monitoring Reports                               Corrective Action Notices
No Further Action Letters                        Notices of environmental violations
Environmental Risk assessments                   UST and AST registrations
Environmental compliance audit reports           UST monitoring results
Geotechnical studies                             Material safety data sheets
Hydrogeologic studies                            Registration for underground injection
Site Management Plans                            Community right-to-know plan
Other Environmental Reports                      Plans for safety, preparedness, spill
                                                 prevention, countermeasure and control, etc.

Reports, Plans, and Other Documents Reviewed:

American Society for Testing and Materials, ASTM Designation E1527-13, Standard Practice
for Environmental Site Assessments – Phase I Environmental Site Assessment Process, 2013.

Environmental Data Resources, Inc. (EDR), Woodlawn Site, 6000 South Stony Island Avenue,
Inquiry Number 04099563.2r; The EDR Radius Map Report, October 8, 2014.

Environmental Data Resources, Inc. (EDR), Woodlawn Site, 6000 South Stony Island Avenue,
Inquiry Number 4099563.3; The Certified Sanborn Map Report, October 8, 2014.

Environmental Data Resources, Inc. (EDR), Woodlawn Site, 6000 South Stony Island Avenue,
Inquiry Number 4099563.3; The EDR Aerial Photo Decade Package, October 9, 2014.

Environmental Data Resources, Inc. (EDR), Woodlawn Site, 6000 South Stony Island Avenue,
Inquiry Number 4099563.3; The EDR Historical Topographic Map Report, October 9, 2014.

Agencies Contacted:
City of Chicago
Chicago Department of Public Health
State of Illinois
Illinois Environmental Protection Agency; and Office of the State Fire Marshal



PHASE I ENVIRONMENTAL SITE ASSESSMENT             21                  EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 43 of 100 PageID #:2677




9.0    SIGNATURES OF ENVIRONMENTAL PROFESSIONALS

Since information provided by the Client is critical to conformance with the requirements for all
appropriate inquiry, this conclusion is specific only to Client who engaged the work, and may
not be relied upon by any other party for any reason or under any condition.

We declare that, to the best of our professional knowledge and belief, we meet the definition of
Environmental Professional as defined in §312.10 of 40 CFR 312” and we have the specific
qualifications based on education, training, and experience to assess a property of the nature,
history, and setting of the subject Property. We have developed and performed the all
appropriate inquiries in conformance with the standards and practices set forth in 40 CFR Part
312 except as follows:
       The results of additional inquiries required under §312.22 of 40 CFR 312 were not
        provided to the environmental professional. All appropriate inquiry does not require
        submission of this information to the environmental professional, but without this
        information we are unable to make a declaration regarding related conformance with the
        requirements of 40 CFR 312.

In order to qualify for innocent landowner, contiguous property owner, or bona fide prospective
purchaser protections under CERCLA, any user of this assessment should assure conformance
with these requirements.


                         for

Alexandria Smith-Dedrick
Environmental Scientist




Patricia Feeley, P.G.
Environmental Professional
Senior Project Manager

Ms. Feeley has 20 years of experience in sampling and environmental consulting,
including extensive experience in soil and groundwater investigations, and remedial
actions. She is a qualified Environmental Professional under 40 CFR Part 312. She is a
licensed professional geologist in the state of Illinois. Ms. Feeley has conducted and
reviewed hundreds of Phase I and II Environmental Site Assessments (ESAs), tank
removals, remediation, and Environmental Assessments (EAs) in compliance with
NEPA. She applies quality assurance and quality control measures in planning,
protocols, sampling, and reporting.


PHASE I ENVIRONMENTAL SITE ASSESSMENT              22                  EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 44 of 100 PageID #:2678




10.0   QUALIFICATIONS OF ENVIRONMENTAL PROFESSIONALS

10.1   Definition of an Environmental Professional

       An Environmental Professional means: (1) a person who possesses sufficient specific
       education, training, and experience necessary to exercise professional judgment to
       develop opinions and conclusions regarding conditions indicative of releases or
       threatened releases (see §312.1(c)) on, at, in, or to a property, sufficient to meet the
       objectives and performance factors in §312.20(e) and (f). (2) Such a person must: (i)
       hold a current Professional Engineer’s or Professional Geologist’s license or registration
       from a state, tribe, or U.S. territory (or the Commonwealth of Puerto Rico) and have the
       equivalent of three (3) years of full-time relevant experience; or (ii) be licensed or
       certified by the federal government, a state, tribe, or U.S. territory (or the Commonwealth
       of Puerto Rico) to perform environmental inquiries as defined in §312.21 and have the
       equivalent of three (3) years of full-time relevant experience; or (iii) have a Baccalaureate
       or higher degree from an accredited institution of higher education in a discipline of
       engineering or science and the equivalent of five (5) years of full-time relevant
       experience; or (iv) have the equivalent of ten (10) years of full-time relevant experience.
       (3) An environmental professional should remain current in his or her field through
       participation in continuing education or other activities. (4) The definition of
       environmental professional provided above does not preempt state professional licensing
       or registration requirements such as those for a professional geologist, engineer, or site
       remediation professional. Before commencing work, a person should determine the
       applicability of state professional licensing or registration laws to the activities to be
       undertaken as part of the inquiry identified in §312.21(b). (5) A person who does not
       qualify as an environmental professional under the foregoing definition may assist in the
       conduct of all appropriate inquiries in accordance with this part if such person is under
       the supervision or responsible charge of a person meeting the definition of an
       environmental professional provided above when conducting such activities.

10.2   Relevant Experience

       Relevant experience, as used in the definition of environmental professional in this
       Section, means: participation in the performance of all appropriate inquiries
       investigations, environmental site assessments, or other site investigations that may
       include environmental analyses, investigations, and remediation which involve the
       understanding of surface and subsurface environmental conditions and the processes used
       to evaluate these conditions and for which professional judgment was used to develop
       opinions regarding conditions indicative of releases or threatened releases (see §312.1(c))
       to the subject property.




PHASE I ENVIRONMENTAL SITE ASSESSMENT               23                   EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 45 of 100 PageID #:2679
PROJECT SITES




 2   Woodlawn




        Current land ownership

            The Woodlawn site is owned by the Chicago Park District.
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 46 of 100 PageID #:2680




        Description of adjacent property uses and ownership
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 47 of 100 PageID #:2681




                                 APPENDIX A

                  Site Photographs & Questionnaires




PHASE I ENVIRONMENTAL SITE ASSESSMENT      24               EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 48 of 100 PageID #:2682
                                       Woodlawn Site
                    Photographs for Phase I Environmental Site Assessment
                              Photographed by Patricia Feeley
                                      October 13, 2014




   Photo 1: View facing north of the                Photo 4: View facing west at utility box
   Woodlawn Site, grass and tree covered            and concrete pad located north of track.
   area.




   Photo 2: View facing north at three              Photo 5: View facing south of the
   utility boxes located in northeast corner        playground area, south of the track.
   of the site.




   Photo 3: View facing south of the track          Photo 6: View facing south of the
   and field area of Woodlawn Site, central         restroom building, located east of the
   area.                                            playground area.


                                               - 1 - Environmental Design International inc.
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 49 of 100 PageID #:2683
                                      Woodlawn Site
                   Photographs for Phase I Environmental Site Assessment
                             Photographed by Patricia Feeley
                                     October 13, 2014




   Photo 7: View of the interior of the          Photo 10: View facing south along
   restroom building.                            Stony Island Ave, adjacent multi-unit
                                                 residential on west side of Stony Island.




   Photo 8: View of the ball field facing        Photo 11: South Adjacent Jackson Park
   south, located south of the playground        Services Yard at 63rd Street & Hayes
   area.                                         Avenue.




   Photo 9: View facing west, grass              Photo 12: East side of Woodlawn site
   covered area, with the adjacent Hyde          with east adjacent Jackson Park across
   Park High School in the background.           Cornell Avenue.


                                            - 2 - Environmental Design International inc.
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 50 of 100 PageID #:2684
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 51 of 100 PageID #:2685
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 52 of 100 PageID #:2686
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 53 of 100 PageID #:2687
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 54 of 100 PageID #:2688
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 55 of 100 PageID #:2689
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 56 of 100 PageID #:2690
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 57 of 100 PageID #:2691
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 58 of 100 PageID #:2692
                               Alternative Formulation Briefing – DRAFT –




Figure 2: Vicinity Map of the Jackson Park Showing Study Area

1.5 Prior Studies & Projects
This section summarizes the studies, reports and nearby projects that were already completed on Jackson
Park prior to the initiation of this study.



US Army Corps of Engineers                     5                            Jackson Park – Chicago, Illinois
Chicago District                                                               Detailed Project Report & EA
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 59 of 100 PageID #:2693




                                 APPENDIX B
                         FOIA RESPONSE & VES




PHASE I ENVIRONMENTAL SITE ASSESSMENT      25               EDI PROJECT NO. 1877.001
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 60 of 100 PageID #:2694
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 61 of 100 PageID #:2695
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 62 of 100 PageID #:2696
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 63 of 100 PageID #:2697
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 64 of 100 PageID #:2698
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 65 of 100 PageID #:2699
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 66 of 100 PageID #:2700
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 67 of 100 PageID #:2701
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 68 of 100 PageID #:2702
                       Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 69 of 100 PageID #:2703


CDPH Storage Tanks
Based on CDPH Storage Tanks


                                                      STREET NUMBER
               MAPPED LOCATION                                                 STREET NUMBER TO             DIRECTION
                                                          FROM
 6401 S STONY ISLAND AVE                                        6401                     6401               S
 CHICAGO, IL
 (41.778675483000484, -87.58637668499966)
 6420 S STONY ISLAND AVE                                        6420                     6420               S
 CHICAGO, IL
 (41.77807844500046, -87.58641702999967)




                                                          Page 1 of 6                                              10/30/2014
                       Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 70 of 100 PageID #:2704


CDPH Storage Tanks
Based on CDPH Storage Tanks



       STREET NAME                 STREET TYPE                     TANK TYPE                  FACILITY ID

 STONY ISLAND                    AVE                  UNDERGROUND STORAGE TANK           6401STO



 STONY ISLAND                    AVE                  UNDERGROUND STORAGE TANK           6420STO




                                                          Page 2 of 6                                       10/30/2014
                       Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 71 of 100 PageID #:2705


CDPH Storage Tanks
Based on CDPH Storage Tanks



                OWNER                             FACILITY NAME                      Tank ID

                                         CHICAGO PARK DISTRICT



                                         MRS WIDNER




                                                          Page 3 of 6                                       10/30/2014
                       Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 72 of 100 PageID #:2706


CDPH Storage Tanks
Based on CDPH Storage Tanks



    TANK MATERIAL              TANK CONSTRUCTION                 TANK PRODUCT              TANK CAPACITY




                                                          Page 4 of 6                                       10/30/2014
                        Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 73 of 100 PageID #:2707


CDPH Storage Tanks
Based on CDPH Storage Tanks



   INSTALLATION DATE                 REMOVAL DATE           LAST USED DATE

           11/09/1988



           08/21/1950




                                                           Page 5 of 6                                       10/30/2014
                       Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 74 of 100 PageID #:2708


CDPH Storage Tanks
Based on CDPH Storage Tanks



                      COMMENT                                DATA SOURCE

 WORK BY: CHICAGO PARK DISTRICT; REMOVE 1-1500       HISTORIC DEPT. OF BUILDINGS
 GAL TANK             FINAL 11/2/90


 WORK BY: WATER TUBE BOILER & TANK; INSTALL 1-2K     HISTORIC DEPT. OF BUILDINGS
 FUEL OIL




                                                          Page 6 of 6                                       10/30/2014
                       Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 75 of 100 PageID #:2709


CDPH Storage Tanks
Based on CDPH Storage Tanks


                                                      STREET NUMBER
               MAPPED LOCATION                                                 STREET NUMBER TO             DIRECTION
                                                          FROM
 6300 S SOUTH SHORE DRIVE                                       6300                                        S
 CHICAGO, IL
 (41.79866753700048, -87.58227688599965)




                                                          Page 1 of 6                                              10/31/2014
                       Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 76 of 100 PageID #:2710


CDPH Storage Tanks
Based on CDPH Storage Tanks



       STREET NAME                 STREET TYPE                     TANK TYPE                  FACILITY ID

 SOUTH SHORE DRIVE                                    UNDERGROUND STORAGE TANK           2030980




                                                          Page 2 of 6                                       10/31/2014
                       Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 77 of 100 PageID #:2711


CDPH Storage Tanks
Based on CDPH Storage Tanks



                OWNER                             FACILITY NAME                       Tank ID

 See Environmental Permit Dataset        NIKE C-41/JACKSON PARK                0001




                                                          Page 3 of 6                                       10/31/2014
                       Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 78 of 100 PageID #:2712


CDPH Storage Tanks
Based on CDPH Storage Tanks



    TANK MATERIAL              TANK CONSTRUCTION                 TANK PRODUCT              TANK CAPACITY

                                                           HEATING OI                   2000




                                                          Page 4 of 6                                       10/31/2014
                       Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 79 of 100 PageID #:2713


CDPH Storage Tanks
Based on CDPH Storage Tanks



   INSTALLATION DATE                REMOVAL DATE           LAST USED DATE




                                                          Page 5 of 6                                       10/31/2014
                       Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 80 of 100 PageID #:2714


CDPH Storage Tanks
Based on CDPH Storage Tanks



                      COMMENT                                DATA SOURCE

                                                     DEPT. OF PUBLIC HEALTH




                                                          Page 6 of 6                                       10/31/2014
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 81 of 100 PageID #:2715
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 82 of 100 PageID #:2716
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 83 of 100 PageID #:2717
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 84 of 100 PageID #:2718
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 85 of 100 PageID #:2719
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 86 of 100 PageID #:2720
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 87 of 100 PageID #:2721
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 88 of 100 PageID #:2722
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 89 of 100 PageID #:2723
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 90 of 100 PageID #:2724
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 91 of 100 PageID #:2725
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 92 of 100 PageID #:2726
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 93 of 100 PageID #:2727
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 94 of 100 PageID #:2728
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 95 of 100 PageID #:2729
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 96 of 100 PageID #:2730
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 97 of 100 PageID #:2731
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 98 of 100 PageID #:2732
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 99 of 100 PageID #:2733
Case: 1:18-cv-03424 Document #: 85-20 Filed: 02/05/19 Page 100 of 100 PageID #:2734
